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 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE
10
     ALICE ADAMS,                                     Civil No. 3:20-CV-05756-RAJ
11
              Plaintiff,
12
              vs.                                      PROPOSED ORDER
13
     COMMISSIONER OF SOCIAL
14   SECURITY,

15            Defendant.
16            Based on Defendant’s Motion, it is hereby ORDERED that the Answer due date
17   shall be amended as follows:
18
              Defendant shall have up to and including December 7, 2020, to file a response to
19
     Plaintiff’s Complaint, including the certified administrative record. If the certified
20
     administrative record becomes available to the Office of the General Counsel before the
21
     aforementioned date, the record may be filed earlier, if acceptable to both parties.
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 1
              If the Commissioner is unable to file the certified administrative record by that
 2
     date, the Commissioner shall file another motion for extension every 28 days until the
 3
     certified administrative record becomes available.
 4
              DATED this 5th day of November, 2020.
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 7                                                      A
 8                                                      The Honorable Richard A. Jones
                                                        United States District Judge
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